Case 4:21-mj-00079-DW Document 1 Filed 05/19/21 Page 1 of 26 PageID #: 1




                      UNITED STATES DISTRICT COURT
                       DISTRICT OP SOUTH DAKOTA
                           SOUTHERN DIVISION


                                                4:21-mj-79
  In the Matter of the Search Regarding: No.


  21 -083-04 REDACTBD AFFIDAVIT IN
                     SUPPORT OF APPLICATION FOR
                     SEARCH WARRANT


STATE OF SOUTH DAKOTA )
                              :ss
COUNTY OP MINNEHAHA )

      I, Adam C. Topping, being first duly sworn upon oath depose and state as

follows:

                INTRODUCTION AND AGENT BACKGROUND

      1, I make this affidavit in support of an application for a search warrant

for information associated with certain Snapchat accounts that are stored at


premises owned, maintained, controlled, or operated by Snap Inc. ("Snapchat"),

an electronic communications service and/or remote computing service provider


headquartered at 2772 Donald Douglas Loop, North Santa Monica, California.


The information to be searched is described in the following paragraphs and in

Attachment A. This affidavit is made in support of an application for a search


warrant under 18 U.S.C. §§ 2703(a), 2703(b)(l)(A), and 2703(c)(l)(A) to require

Snapchat to disclose to the government copies of the information (including the

content of communications) further described in Section I of Attachment B.


Upon receipt of the information described in Section I of Attachment B,
Case 4:21-mj-00079-DW Document 1 Filed 05/19/21 Page 2 of 26 PageID #: 2




government-authorized persons will review that information to locate the items


described in Section II of Attachment B.


      2. I am a Special Agent (8A) with the Federal Bureau of Investigation

(FBI) assigned to the Sioux Falls, South Dakota, office. I have worked as a


Special Agent with the FBI since March 2, 2008. As part of my duties with fhe

FBI, I investigate violations of federal law, including online exploitation of


children, including violations pertaining to the illegal possession, receipt,

transmission, and production of material depicting fhe sexual exploitation of


minors. I have also conducted a wide variety of investigations to include


international and domestic terrorism, violent crimes, white collar crimes, and


crimes in Indian country. I have gained experience in the conduct of such


investigations through previous case investigations, formal training, and in

consultation with law enforcement partners in local, tribal, state, and federal law


enforcement agencies. I have participated in the execution of numerous


warrants to search and seize electronic devices, such as cellular telephones and


computers, as well as social media accounts. The following information is based


on investigation conducted jointly by the FBI, and local and state law


enforcement agencies. This affidavit does not contain the entirety of my


knowledge regarding this investigation.


      3. I have received information from other law enforcement officers and


sources of information by either verbal or written report. The officers and


sources providing information may have received the information by way of


personal knowledge or from another source.
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      4. This affidavit is intended to show only that there is sufficient

probable cause for the requested warrant and does not set forth all of my


knowledge about this matter.


      5. Based on my training and experience and the facts set forth in this


affidavit, there is probable cause to believe that |—^—|BBBB^BIBI^^^B>

date of birth ^^^^B. 1975, and ^^^^^^^^^^^^^^B, date of birth

       I, 1982, were involved in the sex trafficking of ^^B, date of birth

B, 2004, a juvenile, in violation 18 U.S.C. §§ 1591(a)(l) and 1591(a)(2), and

possessed child pornography in violation of 18 U.S.C. §§ 2252 and 2252A. There


is also probable cause to believe that B|—IB^^—i—BBBB^BBBB> date

of birth ^^^^^^^B, 1984, the ^^^^^B ^^B, was also involved in the sex

trafficking of B^| and financially benefited from the activity in violation of 18

U.S.C. §§ 1591(a)(l) and 1591(a)(2). There is probable cause to search the

information described in Attachment A used by ^^^^^^I^^^^^^^I^B for

evidence, instrumentalities, contraband, and/or fruits of these crimes further

described in Attachment B.


                                  JURISDICTION

      6. This Court has jurisdiction to issue the requested warrant because


it is "a court of competent jurisdiction" as defined byl8U.8.C.§2711. 18U.S.C.


§§ 2703(a), 2703(b)(l)(A), and 2703(c)(l)(A), Specifically, the Court is "a district

court of the United States (including a magistrate judge of such court) . . . that


has jurisdiction over the offense being investigated." 18 U.S.C. § 2711(3)(A)(i).
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                        PROBABLE CAUSE - GENERAL

      7.




      8. The investigation conducted by me and Detective Jonathan Carda of


the Sioux Falls Police Department indicates that




                        PROBABLE CAUSE - ROBERT

     9.     On
Case 4:21-mj-00079-DW Document 1 Filed 05/19/21 Page 5 of 26 PageID #: 5




          Q
           p
     bo


          Q
           p




                                   en
Case 4:21-mj-00079-DW Document 1 Filed 05/19/21 Page 6 of 26 PageID #: 6




    13. Subsequent investigation using online resources confirmed that




    15. On
Case 4:21-mj-00079-DW Document 1 Filed 05/19/21 Page 7 of 26 PageID #: 7




              PROBABLE CAUSE - RONALD AND MELANIE

    16. On




                                   7
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     18. On




    19. Through the use of subpoenas, the FBI obtained records for several




                                   8
Case 4:21-mj-00079-DW Document 1 Filed 05/19/21 Page 9 of 26 PageID #: 9




    21. Through the use of subpoenas, the FBI obtained




    23. An examination of
Case 4:21-mj-00079-DW Document 1 Filed 05/19/21 Page 10 of 26 PageID #: 10




                     PROBABLE CAUSE - SNAPCHAT

     24. Based on investigation conducted by myself and Detective Carda, a


search warrant issued on




     25. Obtained via the warrant were Snapchat records for usernaraes




                                    10
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                  BACKGROUND CONCERNING SNAPCHAT

     27. The following language is contained in the Snap Inc. Law


Enforcement Guide dated September 29, 2020:

        a. Snapchat is a mobile application made by Snap Inc. ("Snap") and
           available through the iPhone App Store and Google Play Store. The
           Snapchat app provides users a way to share moments with photos,
           videos, and chats.


        b. Snaps - Snaps are photos or videos taken using the Snapchat app's
           camera on an individual's mobile device, and may be shared directly
           with the user's friends, or in a Story (explained below) or Chat. Snap's
           servers are designed to automatically delete a Snap after it has been
           opened by all intended recipients. Snap's servers are designed to
           automatically delete an unopened Snap sent directly to a recipient
           after 30 days and an unopened Snap in Group Chat after 24 hours.

        c. Stories - A user can add Snaps to their "Story". A Story is a collection
           of Snaps displayed in chronological order. Users can manage their
           privacy settings so that their Story can be viewed by all Snapchatters,
           their friends, or a custom audience. A user can also submit their
           Snaps to our crowd-sourced service "Our Story", which enables their
           Snaps to be viewed by all Snapchatters in Search and Snap Map.
           Snap's servers are designed to automatically delete a Snap in a user s

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             Story 24 hours after the user posts the Snap, but the user may delete
             part or all of the Story earlier. Submissions to Our Story may be
             saved for longer periods of time.

          d. Memories - Memories is Snapchat's cloud-storage service. Users can
             save their sent or unsent Snaps, posted Stories, and photos and
             videos from their phone's photo gallery in Memories. Content saved
             in Memories is backed up by Snap and may remain in Memories until
             deleted by the user. Users may encrypt their content in Memories
             (called "My Eyes Only"), in which case the content is not accessible
             to Snap and cannot be decrypted by Snap.

          e. Chat - A user can type messages, send Snaps, audio notes, and video
             notes to friends within the Snapchat app using the Chat feature. Our
             servers are designed to automatically delete one-to-one chats once
             the recipient has opened the message and both the sender and
             recipient have left the chat screen, depending on the user's chat
             settings. Snap's servers are designed to automatically delete
             unopened one-to-one chats in 30 days. Users can also chat in
             groups. Chats sent in groups are deleted after 24 hours whether they
             are opened or not. A user can save a message in Chat by pressing
             and holding the message. The user can unsave the message by
             pressing and holding it again. This will delete it from. our servers.
             Users can also delete chats that they have sent to a recipient before
             the recipient has opened the chat or after the recipient has saved the
             chat.


         f. Location Data - If a user has device-level location services turned on
             and has opted into location services on Snapchat, Snap will collect
             location data at various points during the user's use of Snapchat,
             and retention periods for location data vary depending on the
             purpose of the collection, Users have some control over the deletion
             of their location data in the app settings.


                                   CONCLUSION

      28. Based on the foregoing, I request that the Court issue the proposed

search warrant.


      29. Pursuant to 18 U.S.C. § 2703 (g), the presence of a law enforcement

officer is not required for the service or execution of this warrant. The government


will execute this warrant by serving the warrant on Snap Inc. Because the


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warrant will be served on Snap Inc., which will then compile the requested


records at a time convenient to it, reasonable cause exists to permit the execution


of the requested warrant at any time in the day or night.

        Dated this //<P day of May, 2021.




                                             Adam C. Topptrfg^l^pecial Agerff
                                             Federal Bureau of Investigation

        Subscribed and sworn to me, telephonically, on this _n^~doy of May,
2021.




                                             DANETA L. WOLLMANN
                                             United States Magistrate Judge




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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF SOUTH DAKOTA
                          SOUTHERN DIVISION


  In the Matter of the Search Regarding: No.
                                                4:21-mj-79

  21-083-04 REDACTED ATTACHMENT A




                       PROPERTY TO BE SEARCHED

       This warrant applies to information associated with Snapchat account


usernames:




      The information sought is stored at premises owned, maintained,


controlled, or operated by Snap Inc., a company headquartered at 2772 Donald


Douglas Loop, North Santa Monica, California.
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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           SOUTHERN DIVISION


  In the Ivlatter of the Search Regarding: No.    4:21-mj-79

  21 -083-04 REDACTED ATTACHMENT B



                    PARTICULAR THINGS TO BE SEIZED

   I. Information to be disclosed by Snap Inc. ("Snapchat")

      To the extent that the information described in Attachment A is within the

possession, custody, or control of Snapchat, regardless of whether such

information is located within or outside of the United States, and including any


emails, records, files, logs, or information that has been deleted but is still


available to Snapchat, or has been preserved pursuant to a request made under

18 U.S.C. § 2703(f), Snapchat is required to disclose the following information to

the government for each account or identifier listed in Attachment A:


         a. Subscriber information, including but not limited to, and without
            date. limitation: the names of the accounts; the billing addresses;
            account registration addresses; passwords; and any email
            addresses;

         b. Any and all account information, including but not limited to, and
            without date limitation: user profile including a unique user name,
            contact information including full names, user identification
            numbers, birth dates, contact email addresses (including city, state,
            and zip code), telephone numbers, screen names and other personal
            identifiers, date of account creation and/or initiations;


         c. Contents of any and all communications or contact, including, but
            not limited to: read, unread, deleted, drafts of chats; Snaps; Stories
            and/or time line messages; instant messages; public or private
            messages and any attachments, including those previously deleted;
            contents of private mail and/or messages in the user's account
Case 4:21-mj-00079-DW Document 1 Filed 05/19/21 Page 16 of 26 PageID #: 16




            inbox, sent, trash, saved and drafts folders, including those
            previously deleted; content submitted by this and/or other user to
            public features. This request is to include any/all EXIF and
            metadata;

         d. Friends and/or Contact list, and blocked friends list including
            friends previously deleted from both friends lists and blocked friends
            list; device phonebook information;

         e. Information regarding filters, queries submitted, time and date of
            communications, the number of messages exchanged, when a
            message is opened and a screenshot captured;

         f. Any and all content stored on Snapchat's Memory servers or My
            Eyes Only pertaining to Snapchat accounts listed in Attachment A
            including images, video, and photographs, messages, journals, wall
            posts, comments to status including those previously deleted
            and/or those removed by Snapchat, including all metadata and
            EXIF data; images and other information from user device's camera
            and photos;


         g. Log information including but not limited to: use of services; device
            information; web browser type and language; access times; pages
            viewed; identifiers associated with cookies or other technologies that
            may uniquely identify the user device or browser; and pages visited
            before or after navigating to the Snapchat website;


         h. IP information, including: addresses at account sign-up; IP history
             log including the date stamps for the account access, Internet
            Information Services (US) logs, put-get logs, or any other record
            showing exercise of control or domain over the content or cloud or
            online digital storage;

         i. Any and all device(s) information for the accounts listed in
            Attachment A accessing the Snapchat services including without
            limitation: hardware model, mobile phone number, attributes of the
            operating system, advertising identifier, unique application
            identifiers, device settings, browser type, browser information, file
            and software names and types, battery and signal strength, unique
            device identifiers (including international mobile equipment identity
            (IMEI #); mobile equipment identifier (MEID #); electronic serial
            number (ESN #); mobile station ID (MSID #); international mobile
            subscriber identity (IMSI #)); mobile operator or Internet Service
           Provider, language and time zone; device information accessing the
           Snapchat Service including MAC address and Global Unique
           Identification (QUID) Number;
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         j. Location information including without limitation location
             information obtained by Snapchat related to any and all devices for
             the above accounts accessing Snapchat services. This is to include
             check-ins, precise geographic location using methods that include
             Global Positioning System (GPS), Bluetooth, wireless networks, Wi-
             Fi signals GPS, cell towers, Wi-Fi access points, and other sensors,
             such as gyroscopes, accelerometers, and compasses; please provide
             Lat Long records in CSV format.


       Facebook is hereby ordered to disclose the above information to the


 government within 14 days of issuance of this warrant.


    II. Information to be seized by the Government


       All information described above in Section I that constitutes fruits,


 contraband, evidence, and instrumentalities of violations of 18 U.S.C. §§


 1591(a)(l), 1591(a)(2), 2252, and 2252A, those violations involving

               1, and/or BBI; and/or •^iu^BBUBBIBH—l> and/or

                        I, and occurring from I—BBBI^BBBIBBIB^B)

 including, for each account or identifier listed on Attachment A, information


pertaining to the following matters:


         a. Sex trafficking of a child, possession of child pornography;


         b. Evidence indicating the transfer of funds to/from the account
            owners which appears related to sex trafficking of a child or child
            pornography;

         c. Evidence indicating how and when the accounts were accessed or
            used, to determine the geographic and chronological context of
            account access, use, and events relating to the crime under
            investigation and to the account owners;


         d. Evidence indicating the account owners' states of mind as it relates
            to the crime under investigation;


         e. The identities of the persons who created or used the usernames,
            including records that help reveal the whereabouts of such persons;
            and
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         f. The identities of fhe persons who communicated with the
            usernames about matters relating to sex trafficking of a child and
            child pornography, including records that help reveal their
            whereabouts.


      This warrant authorizes a review of electronically stored information,


communications, other records and information disclosed pursuant to this


warrant in order to locate evidence, fruits, and instrumentalities described in


this warrant. The review of this electronic data may be conducted by any


government personnel assisting in the investigation, who may include, in


addition to law enforcement officers and agents, attorneys for the government,


attorney support staff, and technical experts. Pursuant to this warrant, the FBI


may deliver a complete copy of the disclosed electronic data to the custody and


control of attorneys for the government and their support staff for their


independent review.




                                       4
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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                             SOUTHERN DIVISION


                                                 4:21-mj-79
  In the Matter of the Search Regarding: No,

  21 -083-04 REDACTED APPLICATION FOR
                                            SEARCH AND SEIZURE WARRANT




      I, Adam Topping, being first duly sworn, hereby depose and state as
follows:


      I am a Special Agent with the Federal Bureau of Investigation (FBI) in Sioux
Falls, South Dakota, and have reason to believe that within the property fully
described in Attachment A, attached hereto and incorporated herein by
reference, there is now concealed certain information, namely; that fully
described in Attachment B, attached hereto and incorporated herein by
reference, which I believe is property constituting evidence of the commission of
criminal offenses, contraband, the fruits of crime, or things otherwise criminally
possessed, or property designed or intended for use or which is or has been used
as the means of committing criminal offenses, concerning violations of Title 18
U.S.C. §§ 1591(a)(l) and 1591(a)(2) (sex trafficking of a child), and 18 U.S.C. §§
2252 and 2252A (sexual exploitation of minors),

      The facts to support a finding of Probable Cause are contained in ray
Affidavit filed herewith.




                                           Adam C. ToppingTS^iai Agep?^
                                            Federal Bureau of Investigation


     Sworn to and subscribed before me, telephonically, on the I " . day of
May, 2021, at Sioux Falls, South Dakota.




                                                         ^^
                                           DANETA L. WOLLMANN
                                           United States Magistrate Judge
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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                            SOUTHERN DIVISION


  In the Matter of the Search Regarding: No.     4:21-mj-79

  21-083-04 REDACTED SEARCH
                                             AND SEIZURE WARRANT



TO: ANY AUTHORIZED LAW ENFORCEMENT OFFICER

      An application by a federal law enforcement officer or an attorney for the
government requests the search of the person and property described in
Attachment A, attached hereto and incorporated herein by reference.


      I find that the affidavit, or any recorded testimony, establish probable
cause to search and seize the property described above for the information fully
described in Attachment B, attached hereto and incorporated herein by
reference, and that such search will reveal evidence of the violations of 18 U.S.C.
 3§ 1591(a)(l) and 1591(a)(2) (sex trafficking of a child), and 18 U.S.C. §§ 2252
and 2252A (sexual exploitation of minors).

      YOU ARE COMMANDED to execute this warrant on or before
     }^^ ^ c^d^-( _ (not to exceed 14 days)
D pa'the daytime - 6:00 a.m. to 10:00 p.m.
  'at any time in the day or night as I find reasonable cause has been established.


      Unless delayed notice is authorized below, you must give a copy of the
warrant and a receipt for the property taken to the person from whom, or from
whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

      The officer executing this warrant, or an officer present during the
execution of the warrant, must prepare an inventory as required by law and
promptly return this warrant and inventory to the undersigned Judge.

                           ,*^-—


    " i^- y { ^ ^:<3~G A^-DT at Sioux Falls , South Dakota
Date and Time Issued Telephonically




                                             DANETA L. WOLLMANN
                                             United States Magistrate Judge




                                                              cc: AUSA Clapper - clr
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DIVISION


  In the Matter of the Search Regarding: No.
                                                  4:21-mj-79

  21-083-04 REDACTED RETURN




Date and time warrant executed:


Copy of warrant and inventory left with:


Inventory made in the presence of:


Inventory of the property taken and name of any person(s) seized (attach additional sheets,
if necessary):




                                     CERTIFICATION
I declare under penalty of perjury that this inventory is correct and was returned along
with the original warrant to the designated judge.



                                     Adam C. Topping, Special Agent
                                     Federal Bureau of Investigation
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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF SOUTH DAKOTA
                          SOUTHERN DIVISION


                                                4:21-mj-79
  In the Matter of the Search Regarding: No.

  21-083-04 REDACTED ATTACHMENT A




                       PROPERTY TO BE SEARCHED

      This warrant applies to information. associated with Snapchat account


usernames:




      The information sought is stored at premises owned, maintained,


controlled, or operated by Snap Inc., a company headquartered at 2772 Donald


Douglas Loop, North Santa Monica, California.
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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           SOUTHERN DIVISION


                                                  4:21-mj-79
  In the IVtatter of the Search Regarding: No.

  21-083-04 REDACTBD ATTACHMENT B



                    PARTICULAR THINGS TO BE SEIZED

   I. Information to be disclosed by Snap Inc. ("Snapchat")


      To the extent that the information described in Attachment A is within the

possession, custody, or control of Snapchat, regardless of whether such

information is located within or outside of the United States, and including any


emails, records, files, logs, or information that has been deleted but is still


available to Snapchat, or has been preserved pursuant to a request made under


18 U.S.C. § 2703(f), Snapchat is required to disclose the following information to

the government for each account or identifier listed in Attachment A:


         a. Subscriber information, including but not limited to, and without
            date limitation: the names of the accounts; the billing addresses;
            account registration addresses; passwords; and any email
            addresses;


         b. Any and all account information, including but not limited to, and
            without date limitation: user profile including a unique user name,
            contact information including full names, user identification
            numbers, birth dates, contact email addresses (including city, state,
            and zip code), telephone numbers, screen names and other personal
            identifiers, date of account creation and/or initiations;


         c. Contents of any and all communications or contact, including, but
            not limited to: read, unread, deleted, drafts of chats; Snaps; Stories
            and/or time line messages; instant messages; public or private
            messages and any attachments, including those previously deleted;
            contents of private mail and/or messages in the user's account
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            inbox, sent, trash, saved and drafts folders, including those
            previously deleted; content submitted by this and/or other user to
            public features. This request is to include any/all EXIF and
            metadata;


         d. Friends and/or Contact list, and blocked friends list including
            friends previously deleted from both friends lists and blocked friends
            list; device phonebook information;

         e. Information regarding filters, queries submitted, time and date of
            communications, the number of messages exchanged, when a
            message is opened and a screenshot captured;

         f. Any and all content stored on Snapchat's Memory servers or My
            Eyes Only pertaining to Snapchat accounts listed in Attachment A
            including images, video, and photographs, messages, journals, wall
            posts, comments to status including those previously deleted
            and/or those removed by Snapchat, including all metadata and
            EXIF data; images and other information from. user device's camera
            and photos;

         g. Log information including but not limited to: use of services; device
            information; web browser type and language; access times; pages
            viewed; identifiers associated with cookies or other technologies that
            may uniquely identify the user device or browser; and pages visited
            before or after navigating to the Snapchat website;


         h. IP information, including: addresses at account sign-up; IP history
            log including the date stamps for the account access, Internet
            Information Services (US) logs, put-get logs, or any other record
            showing exercise of control or domain over the content or cloud or
            online digital storage;

        i. Any and all device (s) information for the accounts listed in
           Attachment A accessing the Snapchat services including without
           limitation: hardware model, mobile phone number, attributes of the
           operating system, advertising identifier, unique application
           identifiers, device settings, browser type, browser information, file
           and software names and types, battery and signal strength, unique
           device identifiers (including international mobile equipment identity
           (IMEI #); mobile equipment identifier (MEID #); electronic serial
           number (E8N #); mobile station ID (M8ID #); international mobile
           subscriber identity (IMSI #)); mobile operator or Internet Service
           Provider, language and time zone; device information accessing the
           Snapchat Service including MAC address and Global Unique
           Identification (QUID) Number;
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         j. Location information including without limitation location
            information obtained by Snapchat related to any and all devices for
            the above accounts accessing Snapchat services, This is to include
             check-ins, precise geographic location using methods that include
             Global Positioning System (GPS), Bluetooth, wireless networks, Wi-
            Fi signals GP8, cell towers, Wi-Fi access points, and other sensors,
            such as gyroscopes, accelerometers, and compasses; please provide
            Lat Long records in CSV format.


      Facebook is hereby ordered to disclose the above information to the


government within 14 days of issuance of this warrant.


   II. Information to be seized by the Government


      All information described above in Section I that constitutes fruits,


contraband, evidence, and instrumentalities of violations of 18 U.8.C. §§


1591 (a) (1), 1591(a)(2), 2252, and 2252A, those violations involving

               1, and/or BBI> and/or ——BB^^MH—^^M^B^ and/or

                        1, and occurring from BHB^UB^BBBHI^BBHHi>

including, for each account or identifier listed on Attachment A, information


pertaining to the following matters:


         a. Sex trafficking of a child, possession of child pornography;

         b. Evidence indicating the transfer of funds to/from the account
            owners which appears related to sex trafficking of a child or child
            pornography;

         c. Evidence indicating how and when the accounts were accessed or
            used, to determine the geographic and chronological context of
            account access, use, and events relating to the crime under
            investigation and to the account owners;


         d. Evidence indicating the account owners' states of mind as it relates
            to the crime under investigation;


         e. The identities of the persons who created or used the usernames,
            including records that help reveal the whereabouts of such persons;
            and
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         f. The identities of the persons who communicated with the
            usernames about matters relating to sex trafficking of a child and
            child pornography, including records that help reveal their
            whereabouts.


      This warrant authorizes a review of electronically stored information,


communications, other records and information disclosed pursuant to this


warrant in order to locate evidence, fruits, and instrumentalities described in


this warrant. The review of this electronic data may be conducted by any


government personnel assisting in the investigation, who may include, in


addition to law enforcement officers and agents, attorneys for the government,


attorney support staff, and technical experts. Pursuant to this warrant, the FBI


may deliver a complete copy of the disclosed electronic data to the custody and


control of attorneys for the government and their support staff for their


independent review.
